     Case 17-06078-MM7                 Filed 05/15/20         Entered 05/15/20 16:38:55                 Doc 409-1         Pg. 1 of
                                                                  1
                                                      Notice Recipients
District/Off: 0974−3                         User: Admin.                           Date Created: 5/15/2020
Case: 17−06078−MM7                           Form ID: pdfO1                         Total: 33


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          PanaSource Ingredients Inc.
                                                                                                                       TOTAL: 1

Recipients of Notice of Electronic Filing:
tr          Richard M Kipperman             Rmk@corpmgt.com
aty         Carol Chow          carol.chow@ffslaw.com
aty         Christopher V. Hawkins             hawkins@sullivanhill.com
aty         Craig G Margulies           craig@marguliesfaithlaw.com
aty         Eliyahu Ness         eness@lynnllp.com
aty         Gary B. Rudolph           rudolph@sullivanhill.com
aty         Gary E. Slater        ges@slatertruxaw.com
aty         Harris J. Koroglu         hkoroglu@shutts.com
aty         J. Alexandra Rhim           arhim@hemar−rousso.com
aty         James R. Selth         jim@wsrlaw.net
aty         Melody G. Anderson             mga@replevin.com
aty         Mette Kurth         mkurth@foxrothschild.com
aty         Stephen C. Hinze          sch@schinzelaw.com
aty         Timothy J. Truxaw           tjt@slatertruxaw.com
aty         Wayne R. Terry           wterry@hemar−rousso.com
aty         Yosina M. Lissebeck            ylissebeck@lissebecklaw.com
                                                                                                                      TOTAL: 16

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Core Supplement Technology, Inc.          4645 North Ave          Oceanside, CA 92056
cr          Bank of America, N.A.          c/o Hemar, Rousso & Heald, LLP           15910 Ventura Blvd., 12th Floor       Encino,
            CA 91436
cr          Michael D. Schulman          18757 Burbank Blvd.          Suite 310       Tarzana
cr          Berlin Packaging L.L.C.         525 West Monroe Street          Chicago, IL 60661
cr          Creditors Adjustment Bureau, Inc.,         14226 Ventura Blvd.         Sherman Oaks, CA 91423
intp        Joseph O'Dea        3688 Camino de las Lomas            Vista, CA 92084
cr          Pyure Brands, LLC         c/o Harris J. Koroglu        Shutts & Bowen LLP           200 S Biscayne Blvd       Suite
            4100        Miami, FL 33131
pty         IRS        Insolvency Group 1         333 W Broadway           San Diego, CA 92101−3805
acc         Alan Myers        4121 Paseo Montanas           San Diego, CA 92130
cr          Direct Food Ingredients, Inc.        1235 Activity Drive Suite B        Vista, CA 92081
aty         Slater & Truxaw, LLP          15373 Innovation Drive, #210         San Diego, CA 92128
aty         Melissa Bustarde       462 STEVENS AVE, SUITE 303                 SOLANA BEACH, CA 92075
cr          Dongyu USI         Coface North America Insurance            650 College Road East, Suite 2005       Princeton, NJ
            08540
cr          Ascentium Capital LLC           c/o Wright Law Group, PLLC           4470 W. Sunset Blvd., Suite 90003       Los
            Angeles, CA 90027
cr          Micro Quality Labs, Inc.         c/o Margulies Faith, LLP        16030 Ventura Blvd., Suite 470       Encino, CA
            91436
cr          Richard J. Feferman        c/o 2100 Ross Avenue          Suite 2700        Dallas, TX 75201
                                                                                                                      TOTAL: 16
